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                          UNITED STATES DISTRICT COURT
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           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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     Amazon Content Services, LLC, et al.,          Case No. 2:18-cv-3325 MWF-AS
9
                  Plaintiffs,                       ORDER GRANTING
10                                                  CORRECTED MOTION FOR
            vs.                                     WITHDRAWAL OF JOSEPH
11                                                  SHAPIRO AS COUNSEL FOR
     Set Broadcast, LLC, et al.,                    DEFENDANTS
12
                  Defendants.
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           Before the Court is counsel Joseph Shapiro’s Corrected Motion for Withdrawal
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     of Joseph Shapiro as Counsel for Defendants (the “Motion”), filed on March 11, 2019.
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     (Docket No. 40). The Court held a telephonic hearing on the Motion on April 1, 2019.
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           Having considered the arguments and papers submitted, and finding good
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     cause, the Court hereby GRANTS the Motion.
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1          Mr. Shapiro shall serve the Motion on Defendants and file a proof of service

2 within five (5) court days of the filing of this Order. After filing the proof of service,

3 Mr. Shapiro is GRANTED LEAVE to withdraw and will be deemed withdrawn as

4 counsel of record. The docket shall reflect the withdrawal.

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           The action is STAYED until May 13, 2019, to permit Defendants to file notice
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     with the Court that they have retained new counsel.
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           In the case of Defendant Set Broadcast, LLC (“Set Broadcast”), Set Broadcast
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     cannot proceed pro se in this action. The basic rule is that a corporation must appear
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     in federal court through counsel. See Rowland v. Cal. Men’s Colony, Unit II Men’s
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     Advisory Council, 506 U.S. 194, 201-02 (1993) (only natural persons may proceed in
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     forma pauperis because, inter alia, organizations need a lawyer in federal court);
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     Osgood v. Main Streat Mktg., LLC, No. 16CV2415-GPC(BGS), 2017 WL 7362740,
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     at *2 (S.D. Cal. Mar. 27, 2017) (explaining that an LLC may not proceed without
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     counsel). The Court therefore ORDERS Set Broadcast TO SHOW CAUSE, in
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     writing, by no later than May 13, 2019, why the Answer filed on June 18, 2018, should
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     not be stricken for failure to retain counsel. Should Set Broadcast fail to respond to
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     the OSC by the above date, Plaintiffs shall then apply for entry of default by no later
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     than May 20, 2019, and shall move for default judgment within ten (10) days of entry
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     of default by the Clerk.
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1         In the case of Defendants Jason Labossiere and Nelson Johnson, when an

2 attorney of record ceases to represent individuals, as here, the individuals must appear

3 pro se or appoint another attorney by a signed substitution of attorney form. L.R. 83-

4 2.3.3. If the individual Defendants fail to retain counsel by May 13, 2019, then they

5 should be prepared for the case to go forward representing themselves. As indicated

6 at the hearing, after May 13, 2019, Plaintiffs may file a renewed motion to compel

7 depositions of the Individual Defendants.

8      IT IS SO ORDERED.

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        Dated: April 17, 2019.
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                                      ___________________________________
11                                    MICHAEL W. FITZGERALD
                                      United States District Judge
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